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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

WIKIMEDIA FOUNDATION, )
Plaintiff, )

)

Vv. ) Case No. 1:15-ev-662

)

NATIONAL SECURITY AGENCY/ )
CENTRAL SECURITY SERVICE, ef )
al, )
Defendants. )

ORDER

For good cause, and to accommodate the Court’s substantial trial and motions docket and
to allow thc parties sufficient time to argue significant Icgal issues,

It is hereby ORDERED that oral argument on defendants’ motion for summary judgment
(Doc. 161) is RESCHEDULED to Thursday, May 30, 2019 at 2:00 P.M.

The Clerk of Court is directed to send a copy of this Order to al) counsel of record.

Alexandria, Virginia
April 3, 2019

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TS.Ellis,1m /
United States Disfrict Judge
